         Case 3:13-cr-00033-GMG-RWT Document 244 Filed 08/04/14 Page 1 of 7 PageID #: 1504
AO 245D          (Rev. 12/07) Judgment in a Criminal Case for Revocations
v1               6KHHW



                                               81,7('67$7(6',675,&7&2857
                                                     NORTHERN DISTRICT OF WEST VIRGINIA

                81,7('67$7(62)$0(5,&$                                                           JUDGMENT IN A CRIMINAL CASE
                                       v.                                                            )RU5HYRFDWLRQRI3UREDWLRQRU6XSHUYLVHG5HOHDVH
                        ASHLEY MARIE SEAL
                                                                                                   &DVH1XPEHU 3:13CR33-004
                                                                                                   8601XPEHU 09035-087

                                                                                                    J. Mark Sutton
                                                                                                   'HIHQGDQW¶V$WWRUQH\
THE DEFENDANT:
✔ DGPLWWHGJXLOWWRYLRODWLRQRIFRQGLWLRQV
G                                Standard Vand
                                            RIWKHWHUPRIVXSHUYLVLRQ
                                                 Mandatory Conditions

G ZDVIRXQGLQYLRODWLRQRIFRQGLWLRQ V DIWHUGHQLDORIJXLOW
     

7KHGHIHQGDQWLVDGMXGLFDWHGJXLOW\RIWKHVHYLRODWLRQV


Violation Number                        Nature of Violation                                                                                                  Violation Ended
            1                            Positive drug test for marijuana and morphine with admission to                                                        02/12/2014

                                            marijuana use on February 25, 2014

            2                            Cited for Driving Under Revocation/Suspension                                                                          02/27/2014

            3                            Failed to notify probation officer of employment termination                                                           04/04/2014

            4                            Positive drug test for morphine with admission to marijuana use                                                        04/04/2014
                                          on April 9, 2014
✔6HH DGGLWLRQDOYLRODWLRQ V RQ SDJH 
      7KHGHIHQGDQWLVVHQWHQFHGDVSURYLGHGLQSDJHV 2 WKURXJK 7                           RIWKLVMXGJPHQW7KHVHQWHQFHLVLPSRVHGSXUVXDQWWRWKH
6HQWHQFLQJ5HIRUP$FWRI
G 7KHGHIHQGDQWKDVQRWYLRODWHGFRQGLWLRQ V DQGLVGLVFKDUJHGDVWRVXFKYLRODWLRQ V FRQGLWLRQ
         ,WLVRUGHUHGWKDWWKHGHIHQGDQWP   XVWQRWLI\WKH8QLWHG6WDWHVDWWRUQH\IRUWKLVGLVWULFWZLWKLQGD\VRIDQ\FKDQJHRIQDPHUHVLGHQFH
                                            must
RUPDLOLQJDGGUHVVXQWLODOOILQHVUHVWLWXWLRQFRVWVDQGVSHFLDODVVHVVPHQWVLPSRVHGE\WKLVMXGJPHQWDUHIXOO\SDLG,IRUGHUHGWRSD\UHVWLWXWLRQ
WKHGHIHQGDQWPXVWQRWLI\WKHFRXUWDQG8QLWHG6WDWHVDWWRUQH\RIPDWHULDOFKDQJHVLQHFRQRPLFFLUFXPVWDQFHV



                                                                                        July 31, 2014
                                                                                         'DWHRI,PSRVLWLRQRI-XGJPHQW




                                                                                         Signature of Judge


                                                                                        Honorable Gina M. Groh, United States District Judge
                                                                                         1DPHRI-XGJH7LWOHRI-XGJH


                                                                                        August 4, 2014
                                                                                         'DWH
          Case 3:13-cr-00033-GMG-RWT Document 244 Filed 08/04/14 Page 2 of 7 PageID #: 1505
AO 245D      (Rev. 12/07) Judgment in a Criminal Case for Revocations
v1           6KHHW$

                                                                                                          Judgment Page: 2 of 7
     '()(1'$17 ASHLEY MARIE SEAL
     &$6(180%(5 3:13CR33-004

                                            ADDITIONAL VIOLATIONS
 Violation Number                Nature of Violation                                                       Violation Concluded
              5                   Untruthful with probation officer regarding drug use                       04/04/2014
              6                   Submitted untruthful monthly report form for March 2014                    04/04/2014
              7                   Charged with Failure to Appear                                             04/22/2014
              8                   Failed to report to probation office as directed for drug test             06/23/2014
              9                   Failed to follow probation officer's instructions by not returning         06/24/2014

                                     probation officer's telephone calls on June 23 and June 24, 2014.
             10                   Positive drug test for marijuana metabolite                                06/27/2014

             11                   Untruthful with probation officer regarding drug use                       06/27/2014
AO 245BCase
AO 245D      3:13-cr-00033-GMG-RWT
           (Rev.
         (Rev.    12/07)
               09/08)     Judgment
                       Judgment    in a Criminal
                                in Criminal               Document 244
                                            CaseCase for Revocations            Filed 08/04/14 Page 3 of 7 PageID #: 1506
v1         Sheet
         Sheet 2— 2 -Imprisonment
                      Imprisonment


 DEFENDANT:   ASHLEY MARIE SEAL                                                                                 Judgment Page: 3 of 7
 CASE NUMBER: 3:13CR33-004
                                                          IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a
 total term of: Ten (10) months.



   ✔ The court makes the following recommendations to the Bureau of Prisons:
   G
       ✔ That the defendant be incarcerated at an FCI or a facility as close to _____________________________________as
       G                                                                           Martinsburg, Berkeley County, WV            possible;
         G     and at a facility where the defendant can participate in substance abuse treatment, as determined by the Bureau of Prisons;
               G including the 500-Hour Residential Drug Abuse Treatment Program.
       G That the defendant be incarcerated at ________________________________ or a facility as close to his/her home in
            _________________________________as possible;
            G     and at a facility where the defendant can participate in substance abuse treatment, as determined by the Bureau of Prisons;
                  G including the 500-Hour Residential Drug Abuse Treatment Program.
       ✔ That the defendant be given credit for time served from August 8, 2013, to August 9, 2013, and since July 3, 2014.
       G
            G

       G That the defendant be allowed to participate in any educational or vocational opportunities while incarcerated, as determined by
            the Bureau of Prisons.
   G Pursuant to 42 U.S.C. § 14135A, the defendant shall submit to DNA collection while incarcerated in the Bureau of Prisons,
       or at the direction of the Probation Officer.

   G
   ✔ The defendant is remanded to the custody of the United States Marshal.
   G The defendant shall surrender to the United States Marshal for this district:
       G at       _____________________         G a.m.       G p.m.         on      ______________________________ .

       G as notified by the United States Marshal.
   G The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       G before ___________
                12:00 pm (noon) _________________________
                                 on                                    .

       G as notified by the United States Marshal.
       G as notified by the Probation or Pretrial Services Office.
       G on _______________________, as directed by the United States Marshals Service.
   G
                                                                RETURN
 I have executed this judgment as follows:


       Defendant delivered on        ____________________________________               to    _______________________________________

   at ________________________________            , with a certified copy of this judgment.

                                                                                 ___________________________________________________
                                                                                                 UNITED STATES MARSHAL

                                                                           By    ___________________________________________________
                                                                                              DEPUTY UNITED STATES MARSHAL
      Case 3:13-cr-00033-GMG-RWT Document 244 Filed 08/04/14 Page 4 of 7 PageID #: 1507
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AO 245D        5HY
               (Rev.          -XGJPHQWLQD&ULPLQDO&DVHIRU5HYRFDWLRQV
                     12/07) Judgment   in a Criminal Case for Revocations
v1            6KHHW²6XSHUYLVHG5HOHDVH
                Sheet 3 -- Supervised Release
                                                                                                   -XGJPHQW²3DJH     Page:RI4 of 7 
                                                                                                              Judgment
'()(1'$17            ASHLEY MARIE SEAL
&$6(180%(5            3:13CR33-004
                                                     SUPERVISED RELEASE
8SRQUHOHDVHIURPLPSULVRQPHQWWKHGHIHQGDQWVKDOOEHRQVXSHUYLVHGUHOHDVHIRUDWHUPRI        Three (3) years.


         7KHGHIHQGDQWPXVWUHSRUWWRWKHSUREDWLRQRIILFHLQWKHGLVWULFWWRZKLFKWKHGHIHQGDQWLVUHOHDVHGZLWKLQKRXUVRIUHOHDVHIURP
WKHFXVWRG\RIWKH%XUHDXRI3ULVRQV
7KHGHIHQGDQWVKDOOQRWFRPPLWDQRWKHUIHGHUDOVWDWHRUORFDOFULPH
7KHGHIHQGDQWVKDOOQRWXQODZIXOO\SRVVHVVDFRQWUROOHGVXEVWDQFH7KHGHIHQGDQWVKDOOUHIUDLQIURPDQ\XQODZIXOXVHRIDFRQWUROOHG
VXEVWDQFH7KHGHIHQGDQWVKDOOVXEPLWWRRQHGUXJWHVWZLWKLQGD\VRIUHOHDVHIURPLPSULVRQPHQWDQGDWOHDVWWZRSHULRGLFGUXJWHVWV
WKHUHDIWHUDVGHWHUPLQHGE\WKHSUREDWLRQRIILFHU
G     7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKHGHIHQGDQWSRVHVDORZULVNRI
      IXWXUHVXEVWDQFHDEXVH &KHFNLIDSSOLFDEOH
✔ 7KHDERYHGUXJWHVWLQJFRQGLWLRQLVVXVSHQGHGEDVHGRQWKHFRXUW¶VGHWHUPLQDWLRQWKDWWKLVFRQGLWLRQKDVEHHQVDWLVILHGGXULQJ
G
      DSUHYLRXVWHUPRIVXSHUYLVLRQ &KHFNLIDSSOLFDEOH
✔ 7KHGHIHQGDQWVKDOOQRWSRVVHVVDILUHDUPDPPXQLWLRQGHVWUXFWLYHGHYLFHRUDQ\RWKHUGDQJHURXVZHDSRQDVGHILQHGLQ86&
G
       &KHFNLIDSSOLFDEOH 
G     7KHGHIHQGDQWVKDOOFRRSHUDWHLQWKHFROOHFWLRQRI'1$DVGLUHFWHGE\WKHSUREDWLRQRIILFHUXQOHVVSUHYLRXVO\FROOHFWHGE\WKH
      %XUHDXRI3ULVRQV &KHFNLIDSSOLFDEOH 
G     7KHGHIHQGDQWVKDOOFRPSO\ZLWKWKHUHTXLUHPHQWVRIWKH6H[2IIHQGHU5HJLVWUDWLRQDQG1RWLILFDWLRQ$FW 86&HW
      VHT DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKH%XUHDXRI3ULVRQVRUDQ\VWDWHVH[RIIHQGHUUHJLVWUDWLRQDJHQF\LQZKLFKKHRUVKH
      UHVLGHVZRUNVLVDVWXGHQWRUZDVFRQYLFWHGRIDTXDOLI\LQJRIIHQVH &KHFNLIDSSOLFDEOH
G     7KHGHIHQGDQWVKDOOSDUWLFLSDWHLQDQDSSURYHGSURJUDPIRUGRPHVWLFYLROHQFH &KHFNLIDSSOLFDEOH
        ,IWKLVMXGJPHQWLPSRVHVDILQHRUUHVWLWXWLRQLWLVEHDFRQGLWLRQRIVXSHUYLVHGUHOHDVHWKDWWKHGHIHQGDQWSD\LQDFFRUGDQFHZLWK
WKH6FKHGXOHRI3D\PHQWVVKHHWRIWKLVMXGJPHQW
         7KHGHIHQGDQWPXVWFRPSO\ZLWKWKHVWDQGDUGFRQGLWLRQVWKDWKDYHEHHQDGRSWHGE\WKLVFRXUWDVZHOODVZLWKDQ\DGGLWLRQDOFRQGLWLRQV
RQWKHDWWDFKHGSDJH
                                     STANDARD CONDITIONS OF SUPERVISION
      WKHGHIHQGDQWVKDOOQRWOHDYHWKHMXGLFLDOGLVWULFWZLWKRXWWKHSHUPLVVLRQRIWKHFRXUWRUSUREDWLRQRIILFHU
 
 2)    WKHGHIHQGDQWVKDOOUHSRUWWRWKHSUREDWLRQRIILFHUDQGVKDOOVXEPLWDWUXWKIXODQGFRPSOHWHZULWWHQUHSRUWZLWKLQWKHILUVWILYHGD\VRI
       the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
       HDFKPRQWK
      WKHGHIHQGDQWVKDOODQVZHUWUXWKIXOO\DOOLQTXLULHVE\WKHSUREDWLRQRIILFHUDQGIROORZWKHLQVWUXFWLRQVRIWKHSUREDWLRQRIILFHU
      WKHGHIHQGDQWVKDOOVXSSRUWKLVRUKHUGHSHQGHQWVDQGPHHWRWKHUIDPLO\UHVSRQVLELOLWLHV
      WKHGHIHQGDQWVKDOOZRUNUHJXODUO\DWDODZIXORFFXSDWLRQ XQOHVVH[FXVHGE\WKHSUREDWLRQRIILFHUIRUVFKRROLQJWUDLQLQJRURWKHU
       DFFHSWDEOHUHDVRQV
      WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUDWOHDVWWHQGD\VSULRUWRDQ\FKDQJHLQUHVLGHQFHRUHPSOR\PHQW
      WKHGHIHQGDQWVKDOOUHIUDLQIURPH[FHVVLYHXVHRIDOFRKRODQGVKDOOQRWSXUFKDVHSRVVHVVXVHGLVWULEXWHRUDGPLQLVWHUDQ\
       FRQWUROOHGVXEVWDQFHRUDQ\SDUDSKHUQDOLDUHODWHGWRDQ\FRQWUROOHGVXEVWDQFHVH[FHSWDVSUHVFULEHGE\DSK\VLFLDQ
      WKHGHIHQGDQWVKDOOQRWIUHTXHQWSODFHVZKHUHFRQWUROOHGVXEVWDQFHVDUHLOOHJDOO\VROGXVHGGLVWULEXWHGRUDGPLQLVWHUHG
      WKHGHIHQGDQWVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQVHQJDJHGLQFULPLQDODFWLYLW\DQGVKDOOQRWDVVRFLDWHZLWKDQ\SHUVRQFRQYLFWHGRI
       DIHORQ\XQOHVVJUDQWHGSHUPLVVLRQWRGRVRE\WKHSUREDWLRQRIILFHU
     WKHGHIHQGDQWVKDOOSHUPLWDSUREDWLRQRIILFHUWRYLVLWKLPRUKHUDWDQ\WLPHDWKRPHRUHOVHZKHUHDQGVKDOOSHUPLWFRQILVFDWLRQRIDQ\
       FRQWUDEDQGREVHUYHGLQSODLQYLHZRIWKHSUREDWLRQRIILFHU
     WKHGHIHQGDQWVKDOOQRWLI\WKHSUREDWLRQRIILFHUZLWKLQVHYHQW\WZRKRXUVRIEHLQJDUUHVWHGRUTXHVWLRQHGE\DODZHQIRUFHPHQWRIILFHU
     WKHGHIHQGDQWVKDOOQRWHQWHULQWRDQ\DJUHHP HQWWRDFWDVDQLQIRUP HURUDVSHFLDODJHQWRIDODZHQIRUFHPHQWDJHQF\ZLWKRXWWKH
       SHUPLVVLRQRIWKHFRXUWDQG
     DVGLUHFWHGE\WKHSUREDWLRQRIILFHUWKHGHIHQGDQWVKDOOQRWLI\WKLUGSDUWLHVRIULVNVWKDWPD\EHRFFDVLRQHGE\WKHGHIHQGDQW¶VFULPLQDO
       UHFRUGRUSHUVRQDOKLVWRU\RUFKDUDFWHULVWLFVDQGVKDOOSHUPLWWKHSUREDWLRQRIILFHUWRPDNHVXFKQRWLILFDWLRQVDQGWRFRQILUPWKH
       GHIHQGDQW¶VFRPSOLDQFHZLWKVXFKQRWLILFDWLRQUHTXLUHPHQW
       Case 3:13-cr-00033-GMG-RWT Document 244 Filed 08/04/14 Page 5 of 7 PageID #: 1508
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             (Rev. 12/07)-XGJPHQWLQD&ULPLQDO&DVH
                          Judgment in a Criminal Case for Revocations
v1           6KHHW±6SHFLDO&RQGLWLRQV
                                                                                                      -XGJPHQW²3DJH          RI         
 '()(1'$17 ASHLEY MARIE SEAL                                                                                    Judgment Page: 5 of 7
 &$6(180%(5 3:13CR33-004

                                           SPECIAL CONDITIONS OF SUPERVISION
  The defendant shall have no contact, either directly or indirectly, with any of her co-defendants.

  The defendant shall participate in a program of testing, counseling and treatment for the use of alcohol or drugs if so
  ordered by the Probation Officer.

  The defendant shall not purchase, possess or consume any organic or synthetic intoxicants, including bath salts, synthetic
  cannabinoids or other designer stimulants.

  The defendant shall not frequent places that sell or distribute synthetic cannabinoids or designer stimulants.

  The defendant shall comply with the Northern District of West Virginia Offender Employment Program which may include
  participation in training, counseling, and/or daily job search as directed by the Probation Officer. Unless excused for
  legitimate reasons, if not in compliance with the condition of supervision requiring full-time employment at a lawful
  occupation, the defendant may be directed to perform up to 20 hours of community service per week until employed, as
  approved or directed by the probation officer.

  The defendant shall submit her person, property, house, residence, office, vehicle, papers, computers (as defined in 18
  U.S.C. § 1030(e)(1)), or other electronic communications or data storage devices or media, to a search conducted by a
  United States Probation Officer. Failure to submit to a search may be grounds for revocation of release. The defendant
  shall warn any other occupants that the premises may be subject to searches pursuant to this condition.

  The defendant shall be prohibited from possessing a potentially vicious/dangerous animal or residing with anyone who
  possesses a potentially vicious animal. The probation officer has sole authority to determine what animals are considered
  to be potentially vicious/dangerous.




      8SRQDILQGLQJRIDYLRODWLRQRISUREDWLRQRUVXSHUYLVHGUHOHDVH,XQGHUVWDQGWKDWWKHFRXUWPD\  UHYRNHVXSHUYLVLRQ  H[WHQGWKH
 WHUPRIVXSHUYLVLRQDQGRU  PRGLI\WKHFRQGLWLRQVRIVXSHUYLVLRQ
     7KHVHVWDQGDUGDQGRUVSHFLDOFRQGLWLRQVKDYHEHHQUHDGWRPH,IXOO\XQGHUVWDQGWKHFRQGLWLRQVDQGKDYHEHHQSURYLGHGDFRS\RI
 WKHP


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      'HIHQGDQW¶V6LJQDWXUH                                                        'DWH


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      6LJQDWXUHRI863UREDWLRQ2IILFHU'HVLJQDWHG:LWQHVV                       'DWH
      Case 3:13-cr-00033-GMG-RWT Document 244 Filed 08/04/14 Page 6 of 7 PageID #: 1509
$2%
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              (Rev. 12/07)  Judgment in a Criminal Case for Revocations
v1          6KHHW²&ULPLQDO0RQHWDU\3HQDOWLHV
              Sheet 5 -- Criminal Monetary Penalties
                                                                                                         -XGJPHQW²3DJH             RI           
'()(1'$17 ASHLEY MARIE SEAL                                                                                               Judgment Page: 6 of 7
&$6(180%(5 3:13CR33-004
                                                 CRIMINAL MONETARY PENALTIES
    7KHGHIHQGDQWPXVWSD\WKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVXQGHUWKHVFKHGXOHRISD\PHQWVRQ6KHHW

                        Assessment                                             Fine                             Restitution
TOTALS              $                                                      $                                $


G 7KHGHWHUPLQDWLRQRIUHVWLWXWLRQLVGHIHUUHGXQWLO                      $QAmended Judgment in a Criminal Case $2& ZLOOEHHQWHUHG
    DIWHUVXFKGHWHUPLQDWLRQ

G 7KHGHIHQGDQWPXVWPDNHUHVWLWXWLRQ LQFOXGLQJFRPPXQLW\UHVWLWXWLRQ WRWKHIROORZLQJSD\HHVLQWKHDPRXQWOLVWHGEHORZ
    ,IWKHGHIHQGDQWPDNHVDSDUWLDOSD\PHQWHDFKSD\HHVKDOOUHFHLYHDQDSSUR[LPDWHO\SURSRUWLRQHGSD\PHQWXQOHVVVSHFLILHGRWKHUZLVHLQ
    WKHSULRULW\RUGHURUSHUFHQWDJHSD\PHQWFROXPQEHORZ+RZHYHUSXUVXDQWWR86& L DOOQRQIHGHUDOYLFWLPVPXVWEHSDLG
    EHIRUHWKH8QLWHG6WDWHVLVSDLG

    7KHYLFWLP¶VUHFRYHU\LVOLPLWHGWRWKHDPRXQWRIWKHLUORVVD
    The victim’s recovery is limited to the amount of their lossQGWKHGHIHQGDQW¶VOLDELOLW\IRUUHVWLWXWLRQFHDVHVLI
                                                                   and the defendant’s liability for restitution ceasesDQGZKHQWKHYLFWLPUHFHLYHV
                                                                                                                         if and when the victim
    IXOOUHVWLWXWLRQ
    receives full restitution.
          Name
          Name
          Name  of
          Name of
               of  Payee
                ofPayee
                   Payee
                  Payee                         Total Loss*                       Total
                                                                                  Total Loss*      Restitution
                                                                                        Loss* Ordered
                                                                                     Restitution                Ordered
                                                                                                                    PriorityPriority
                                                                                                    Restitution Ordered      or Percentage
                                                                                                                                     or Percentage




TOTALS                                                                           

G    6HH6WDWHPHQWRI5HDVRQVIRU9LFWLP,QIRUPDWLRQ

G    5HVWLWXWLRQDPRXQWRUGHUHGSXUVXDQWWRSOHDDJUHHPHQW

G    7KHGHIHQGDQWPXVWSD\LQWHUHVWRQUHVWLWXWLRQDQGDILQHRIPRUHWKDQXQOHVVWKHUHVWLWXWLRQRUILQHLVSDLGLQIXOOEHIRUHWKH
     ILIWHHQWKGD\DIWHUWKHGDWHRIWKHMXGJPHQWSXUVXDQWWR86& I $OORIWKHSD\PHQWRSWLRQVRQ6KHHWPD\EHVXEMHFW
     WRSHQDOWLHVIRUGHOLQTXHQF\DQGGHIDXOWSXUVXDQWWR86& J 

G    7KHFRXUWGHWHUPLQHGWKDWWKHGHIHQGDQWGRHVQRWKDYHWKHDELOLW\WRSD\LQWHUHVWDQGLWLVRUGHUHGWKDW

     G WKHLQWHUHVWUHTXLUHPHQWLVZDLYHGIRUWKH G ILQH G UHVWLWXWLRQ
     G WKHLQWHUHVWUHTXLUHPHQWIRUWKH G ILQH G UHVWLWXWLRQLVPRGLILHGDVIROORZV
* Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
       Case 3:13-cr-00033-GMG-RWT Document 244 Filed 08/04/14 Page 7 of 7 PageID #: 1510
AO$2%
   245D       5HY
             (Rev. 12/07)-XGJPHQWLQD&ULPLQDO&DVH
                          Judgment in a Criminal Case for Revocations
v1           6KHHW²6FKHGXOHRI3D\PHQWV

                                                                                                         -XGJPHQW²3DJH           RI        
 '()(1'$17 ASHLEY MARIE SEAL                                                                                         Judgment Page: 7 of 7
 &$6(180%(5 3:13CR33-004
                                                        SCHEDULE OF PAYMENTS

 +DYLQJDVVHVVHGWKHGHIHQGDQW¶VDELOLW\WRSD\SD\PHQWRIWKHWRWDOFULPLQDOPRQHWDU\SHQDOWLHVVKDOOEHGXHDVIROORZV

 A    G /XPSVXPSD\PHQWRI                                   GXHLPPHGLDWHO\EDODQFHGXH

           G QRWODWHUWKDQ                                           RU
           G LQDFFRUGDQFHZLWK G & G                     '    G(G)RUG*EHORZ RU
 B    G 3D\PHQWWREHJLQLPPHGLDWHO\ PD\EHFRPELQHGZLWK                  G&    G' G)RUG*EHORZ RU
 C    G 3D\PHQWLQ                             HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI               RYHUDSHULRGRI
                           HJPRQWKVRU\HDUV WRFRPPHQFH                  HJRUGD\V DIWHUWKHGDWHRIWKLVMXGJPHQWRU

 D    G 3D\PHQWLQ                           HJZHHNO\PRQWKO\TXDUWHUO\ LQVWDOOPHQWVRI               RYHUDSHULRGRI
                         HJPRQWKVRU\HDUV WRFRPPHQFH                  HJRUGD\V DIWHUUHOHDVHIURPLPSULVRQPHQWWRD
           WHUPRIVXSHUYLVLRQRU

 E    G 3D\PHQWGXULQJWKHWHUPRIVXSHUYLVHGUHOHDVHZLOOFRPPHQFHZLWKLQ                      HJRUGD\V DIWHUUHOHDVHIURP
           LPSULVRQPHQW7KHFRXUWZLOOVHWWKHSD\PHQWSODQEDVHGRQDQDVVHVVPHQWRIWKHGHIHQGDQW¶VDELOLW\WRSD\DWWKDWWLPHRU

 F    G 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
           )LQDQFLDOREOLJDWLRQVRUGHUHGDUHWREHSDLGZKLOHWKHGHIHQGDQWLVLQFDUFHUDWHGDQGLISD\PHQWLVQRWFRPSOHWHGGXULQJ
           LQFDUFHUDWLRQLWLVWREHFRPSOHWHGE\WKHHQGRIWKHWHUPRIVXSHUYLVHGUHOHDVHRU


 G    G 6SHFLDOLQVWUXFWLRQVUHJDUGLQJWKHSD\PHQWRIFULPLQDOPRQHWDU\SHQDOWLHV
           7KHGHIHQGDQWVKDOOLPPHGLDWHO\EHJLQPDNLQJUHVWLWXWLRQDQGRUILQHSD\PHQWVRIBBBBBBBBBBBBBBBSHUPRQWKGXHRQWKHILUVW
           RIHDFKPRQWK7KHVHSD\PHQWVVKDOOEHPDGHGXULQJLQFDUFHUDWLRQDQGLIQHFHVVDU\GXULQJVXSHUYLVHGUHOHDVH

 8QOHVVWKHFRXUWKDVH[SUHVVO\RUGHUHGRWKHUZLVHLQWKHVSHFLDO
 Unless the court has expressly ordered otherwise in the specialLQVWUXFWLRQDERYHLIWKLVMXGJPHQWLPSRVHVLPSULVRQPHQWSD\PHQWRIFULPLQDO
                                                                  instruction above, if this judgment imposes imprisonment, payment of
 PRQHWDU\SHQDOWLHVLVGXHGXULQJWKHSHULRG
                                           RILPSULVRQPHQW$OO
 criminal monetary penalties is due during the                    FULPLQDOPRQHWDU\SHQDOWLHVH[FHSWWKRVHSD\P
                                               period of imprisonment.    All criminal monetary penalties, exceptHQWVPDGHWKURXJKWKH)HGHUDO
                                                                                                                  those payments made through
 the Federal Bureau of Prisons’ Inmate Financial Responsibility Program, are made to Clerk, U. S. District Court, NorthernHVW9LUJLQLD32
 %XUHDXRI3ULVRQV¶,QPDWH)LQDQFLDO5HVSRQVLELOLW\3URJUDPDUHPDGHWR&OHUN86'LVWULFW&RXUW1RUWKHUQ'LVWULFWRI:  District of West
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 Virginia, P.O. Box 1518, Elkins, WV 26241.
 7KHGHIHQGDQWVKDOOUHFHLYHFUHGLWIRUDOOSD\PHQWVSUHYLRXVO\PDGHWRZDUGDQ\FULPLQDOPRQHWDU\SHQDOWLHVLPSRVHG



 G    -RLQWDQG6HYHUDO

      5HVWLWXWLRQLVWREHSDLGMRLQWDQGVHYHUDOZLWKRWKHUUHODWHGFDVHVFRQYLFWHGLQ'RFNHW1XPEHU V BBBBBBBBBBBBBBBBBBBBBBBBBBBBB




 G    7KHGHIHQGDQWVKDOOSD\WKHFRVWRISURVHFXWLRQ

 G    7KHGHIHQGDQWVKDOOSD\WKHIROORZLQJFRXUWFRVW V 

 ✔ 7KHGHIHQGDQWVKDOOIRUIHLWWKHGHIHQGDQW¶VLQWHUHVWLQWKHIROORZLQJSURSHUW\WRWKH8QLWHG6WDWHV The Preliminary Order of
 G
        Forfeiture [DOC 85] shall be made a part of this sentence and will be incorporated by reference in the judgment order.
      3D\PHQWVVKDOOEHDSSOLHGLQWKHIROORZLQJRUGHU  DVVHVVPHQW  UHVWLWXWLRQSULQFLSDO  UHVWLWXWLRQLQWHUHVW  ILQHSULQFLSDO 
      ILQHLQWHUHVW  FRPPXQLW\UHVWLWXWLRQ  SHQDOWLHVDQG  FRVWVLQFOXGLQJFRVWRISURVHFXWLRQDQGFRXUWFRVWV
